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      Thimes Solutions Inc.
 10
 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
                                   WESTERN DIVISION
 14
       THIMES SOLUTIONS INC.                  Case No. 2:19-cv-10374-SB-E
 15
                          Plaintiff,          DISCOVERY MATTER
 16
             v.
 17                                           Date: July 8, 2022
       TP-LINK USA CORPORATION, and           Time: 9:30 am
 18    AUCTION BROTHERS, INC. d/b/a           Courtroom: 750, 7th Floor
       AMAZZIA
 19                                           PLAINTIFF’S NOTICE OF
                          Defendant.          MOTION TO COMPEL
 20
                                              DEFENDANT AUCTION
 21                                           BROTHERS TO PRODUCE
                                              DOCUMENTS
 22
                                              Discovery Cutoff: Sept. 30, 2022
 23                                           Pretrial Conference: Dec. 30, 2022
                                              Trial Date:          Jan. 9, 2023
 24
 25                                           Complaint Filed: May 29, 2019
                                              Am. 5th Am. Com. Filed: May 27, 2022
 26
 27
 28
                                                                      NOTICE OF MOTION
                                                               CASE NO. 2:19-CV-10374-SB-E
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  1   TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
  2   RECORD:
  3         PLEASE TAKE NOTICE THAT on July 8, 2022 at 9:30 a.m., or as soon
  4   thereafter as counsel may be heard, before the Honorable Charles F. Eick,
  5   Magistrate Judge of the United States District Court, Central District of California,
  6   located at 255 East Temple Street, Los Angeles, California 90012, Courtroom 750,
  7   7th Floor, plaintiff Thimes Solutions Inc. will and hereby does move
  8   pursuant to Federal Rule of Civil Procedure 34 and Local Rule 37-2 for an
  9   order compelling defendant Auction Brothers to:
 10         1.      Produce documents responsive to Plaintiff’s first set of requests for
 11   production.
 12         2.      Cooperate with Plaintiff’s counsel in the identification, collection, and
 13   production of ESI by disclosing the sources and custodians from which it is
 14   collecting ESI, as well as the search terms Auction Brothers is applying, and
 15   permitting Plaintiff to file a motion relating to those issues on shortened notice if
 16   the parties do not agree as to the proper measures for ESI.
 17         3.      Requiring Auction Brothers to complete its document production by
 18   July 18, 2022.
 19         4.      Awarding monetary sanctions in the amount of $1,000.
 20         Good cause exists to grant this motion. Plaintiff’s document requests are
 21   relevant to the issues in this lawsuit. In addition, Auction Brother’s refusal to
 22   cooperate with ESI is contrary to the Sedona’ Conference’s principles encouraging
 23   “cooperative, collaborative, and transparent discovery.” Additionally, the July 18,
 24   2022 completion date is necessary given the fact and expert discovery deadline of
 25   September 30, 222 and the expert disclosure deadline of August 1, 2022.
 26   Moreover, sanctions are warranted because any opposition to this motion would not
 27   be substantially justified.
 28         This motion is based upon this notice of motion, the concurrently submitted
                                                                               NOTICE OF MOTION
                                                -1-                   CASE NO. 2:18-CV-1077-CBM-E
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  1   Joint Stipulation, the declaration of Victor Meng the pleadings and other materials
  2   on file in this action, and such other matters that this Court may consider at or
  3   before any hearing on this motion. A proposed order is submitted concurrently
  4   herewith.
  5
  6    Dated: June 14, 2022          GAW | POE LLP
  7
                                     By: /s/ Randolph Gaw
  8
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                                                                              NOTICE OF MOTION
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